




















NO. 07-11-0091-CV

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; IN
THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; AT
AMARILLO

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PANEL
D

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; AUGUST 9, 2011

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ______________________________

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; R.
WAYNE JOHNSON, APPELLANT

V. 

GERALD CORNELIUS AND VICKI CORNELIUS,
APPELLEES

______________________________

FROM THE 242ND DISTRICT COURT OF CASTRO
COUNTY;

NO. B9231-1011; HONORABLE ED SELF, JUDGE

______________________________

Before QUINN, C.J., and CAMPBELL
and PIRTLE, JJ.

ORDER

&nbsp;

On
July 22, 2011, appellant R. Wayne Johnson, who is acting pro se, filed in this appeal several documents, including a motion
to transfer the appeal because of perceived bias against him, and a “motion to
determine jurisdiction.”&nbsp; The documents
were accompanied by the Rule 39.8 21-day notice[1]
the Court had sent Johnson and appellees on July 8, 2011, and by a copy of
another item of correspondence from Johnson to an Assistant United States
Attorney.

As
other courts have noted in both the trial and appellate contexts, pro se litigants, like lawyers, must be
expected to behave in a civil manner.&nbsp; Gleason v. Isbell, 145
S.W.3d 354, 357-58 (Tex.App.--Houston [14th Dist.] 2004, no pet.)
(Frost, J., concurring and dissenting).&nbsp;
In often-quoted language, the United States Supreme Court stated in Faretta v. California that “the right of
self-representation is not a license to abuse the dignity of the
courtroom.”&nbsp; 422 U.S. 806, 834 n.46, 95 S. Ct. 2525, 2541
n.46, 45 L. Ed. 2d 562 (1975).

The
documents Johnson filed on July 22 contain language addressing the Court and
its staff as “fools.” The documents also contain a reference to “judicial
whores.”&nbsp; The Court is addressed as “the
corrupt-retaliatory court.”&nbsp; The actions
of the trial court are referred to as “criminal.”&nbsp; All because the trial court, and this Court
in previous opinions,[2]
has disagreed with legal positions taken by Johnson. 

As
Justice Frost pointed out in her opinion in Gleason,
no matter how willing individual justices of the Court may be to suffer insults
and personal attacks, the Court has an obligation to demand respectful behavior
toward the courts as institutions.&nbsp; 145 S.W.3d at 359 (Frost, J., concurring and dissenting).&nbsp; We would not tolerate such abusive, crude and
intemperate personal attacks on the Court, the Court’s staff or the trial court
by a lawyer and we cannot allow a pro se
litigant to engage in such conduct in documents filed with the Court.

Accordingly,
the documents filed by Johnson on July 22, 2011 in this appeal, including his
motion to transfer and his motion to determine jurisdiction, are stricken, and
will not be considered by the Court.[3]&nbsp; Cf.
Tex. R. App. P. 9.4(i) (court may strike a document prepared in a manner to
avoid the limits of Rule 9.4); 38.9(a) (court may order brief found in flagrant
violation of Rule 38 amended, supplemented, or redrawn and if another
nonconforming brief is filed court may strike brief, prohibit filing another,
and proceed as if party did not file a brief). &nbsp;

Briefs
have been filed in the appeal and, as noted, the case was set for submission
without oral argument on July 29.&nbsp; The
Court does not see a need for, and does not desire, additional briefing.&nbsp; Nevertheless, the appeal is abated until August
29, 2011.&nbsp; During that time, the parties may
file any motion they desire to submit.&nbsp;
Supplemental briefs will not be filed unless the Court grants, in
advance of filing, leave to file such.&nbsp;
Absent further order of the Court, the appeal will be reinstated on August
29, 2011, and will be submitted without oral argument on that date.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; It is so ordered.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Per
Curiam











[1] Tex. R. App. P. 39.8.&nbsp;
The notice advised the parties the appeal was set for submission without
oral argument on July 29, 2011.&nbsp; Johnson
returned his copy of the notice, annotated with his handwritten comment, along
with his other filings.





[2] In re Johnson,
No. 07-11-0119-CV, 2011 Tex. App. Lexis 4885 (Tex.App.--Amarillo June 28, 2011,
orig. proceeding) (per curiam, mem. op.); In
re Johnson, No. 07-10-0254-CV, 2011 Tex. App. Lexis 4886
(Tex.App.--Amarillo June 28, 2011, orig. proceeding) (mem. op.). 

&nbsp;





[3] To insure that our order is not taken as discouraging
the reporting of corruption or criminal conduct by the Court, we note that the
address of the Texas State Commission on Judicial Conduct is P.O. Box 12265,
Austin, Texas 78711-2265, and the address of the United States Attorney,
Amarillo Division, is Amarillo National Plaza Two, 500 South Taylor Street,
Suite 300, Lobby Box 238, Amarillo, Texas 79101-2446.







